     Case 1:21-cv-04613-MHC-CMS Document 13 Filed 02/22/22 Page 1 of 4




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

MARY C. TERRELL,                                )
                                                )
      Plaintiff,                                )
                                                )
v.                                              )      CIVIL ACTION FILE NO.:
                                                )      1:21-CV-04613-MHC-CMS
CITY OF FOREST PARK, et al.                     )
                                                )
      Defendants.                               )

              PLAINTIFF’S CERTIFICATE OF INTERESTED
          PERSONS AND CORPORATE DISCLOSURE STATEMENT

      (1)    The undersigned counsel of record for a party to this action certifies

that the following is a full and complete list of all parties in this action, including

any parent corporation and any publicly held corporation that owns 10% or more

of the stock of a party:

      •      Plaintiff Mary C. Terrell;

      •      Defendant City of Forest Park, Georgia;

      •      Defendant Angelyne Butler;

      •      Defendant Angela Redding;

      •      Defendant Latresa Akins-Wells;

      •      Defendant Kimberly James; and
     Case 1:21-cv-04613-MHC-CMS Document 13 Filed 02/22/22 Page 2 of 4




      •      Defendant Dabouze Antoine.

      (2)    The undersigned further certifies that the following is a full and

complete list of all other persons, associations, firms, partnerships, or corporations

having either a financial interest in or other interest which could be substantially

affected by the outcome of this particular case:

      •      Buckley Beal, LLP

      •      Freeman Mathis & Gary, LLP

      (3)    The undersigned further certifies that the following is a full and

complete list of all persons serving as attorneys for the parties in this proceeding:

      For the Plaintiff:                       For the Defendants:
      Edward D. Buckley                        David A. Cole
      J. Kyle Brooks                           Shaheem M. Williams
      BUCKLEY BEAL, LLP                        FREEMAN MATHIS & GARY, LLP

      Respectfully submitted this 22nd day of February, 2022.

                                               /s/ J. Kyle Brooks
                                               Edward D. Buckley
                                               Georgia Bar No. 092750
                                               edbuckley@buckleybeal.com
                                               J. Kyle Brooks
                                               Georgia Bar No. 773561
                                               kbrooks@buckleybeal.com




                                           2
     Case 1:21-cv-04613-MHC-CMS Document 13 Filed 02/22/22 Page 3 of 4




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Counsel for Plaintiff




                                    3
     Case 1:21-cv-04613-MHC-CMS Document 13 Filed 02/22/22 Page 4 of 4




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

MARY C. TERRELL,                               )
                                               )
      Plaintiff,                               )
                                               )
v.                                             )    CIVIL ACTION FILE NO.:
                                               )    1:21-CV-04613-MHC-CMS
CITY OF FOREST PARK, et al.                    )
                                               )
      Defendants.                              )

                         CERTIFICATE OF SERVICE

      I certify that on February 22, 2022, I electronically filed the foregoing

PLAINTIFF’S CERTIFICATE OF INTERESTED PERSONS AND CORPORATE

DISCLOSURE STATEMENT with the Clerk of the Court using the CM/ECF

system, which will automatically send electronic notification of such filing to the

following attorneys of record:

                                      David A. Cole
                                  Shaheem M. Williams
                                  100 Galleria Parkway
                                        Suite 1600
                                 Atlanta, GA 30339-5948

                                               /s/ J. Kyle Brooks
                                               J. Kyle Brooks
                                               Georgia Bar No. 773561


                                           4
